  Case: 5:22-cv-00104-CHB Doc #: 1 Filed: 04/25/22 Page: 1 of 5 - Page ID#: 1


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      In the Federal District Court in Lexington for the Eastern District of Kentuc~              I L ED
                Request of Geoffrey M. Young for an Injunction Against KET                   APR 2 5 2022
                                                                                               ATLEXINGTON
                                                                                         ,    ROBERT R. CARR
                                    Geoffrey M Young v. KET                              ulERK ll.S. DISTRICT COURT

                                     S-: ?'2 · Cl/.       /0¥· Ct/is

a registered Democrat. I am one of four candidates for the US House of Representatives in

Kentucky's 6th Congressional District whose names will appear on the ballot for the primary

elections OD. May l 7, 2022.. The three other candidates listed 011 the website of the Kentucky

Secretary of State are Chris Preece, 214 Laurel Drive, Berea, Kentucky 40403, who is my only

opponent in the Democratic Party primary; Andy Barr, P.O. Box 2059, Lexington, KY 40588;

antl Derek Pettys, 829- Mal'eellus Drive, L\cxington KY 40505. The latter twtreandidates are-

registered Republicans.

       KET is Kentucky Educational Television, an agency of the Comonwealth of Kentucky.

Its main address is 600 Cooper Drive-, Lexington, KY 40502. KET sponsors eandioote- debates

before primaries and before general elections.

       On or about February 10, 2022, I signed for and opened a letter from KET - see Exhibit

l - that was unsigned but was dated November 22, 2021. It was somewhat similar to the letters

I received from KET when I ran for the US House of Representatives in 2014, 2016, 2018, and

2020; and when I ran for Governor of Kentucky in 2015 and 2019. It was titled, "KET

Candidate- Invitation Criteria" Like most of these letters, it featured three criteria, the-first two

of which I have never had any trouble meeting: ( 1) being on the ballot as reflected by the

website of the Kentucky Secretaiy of State; and (2) having a public website or social media

account that lists rny positions on some issues. Usually, KET requires at least four issues, but

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  Case: 5:22-cv-00104-CHB Doc #: 1 Filed: 04/25/22 Page: 2 of 5 - Page ID#: 2




its 2022 letter did not specify a number. By the deadline of April 15, 2022, my website,

https://www.young4ky.com/, discussed approximately twelve issues in depth.

       The third cri:teri:tm is usually a finaneitt requirement. In: past years, I have sometimes

met Criterion (3) and sometimes failed to meet it. Every time I have failed to meet it, KET has

absolutely refused to allow me to participate in their debate. They station a security officer

ootside the door before·the debate to keej'l' me from entering the building under threat of arrest

and jail. This year's Criterion (3) was and is extremely detailed, precise and stringent:

       The candidate's principal campaign committee has reported net contributions of
       :,t.kast. tw!).nty.-fiv~ .tlmusand.ddlarn .($25,QQQ), or. rop.orte.d.ne.t oxp.c.ndit.m:s .of
       at least twenty-five thousand dcllars ($25,000), on the April }5, 2022 Quarterly
       Report it files with the Federal Election Commission ("FEC") using FEC Form
       3. KET will determine satisfaction of this criterion using the amounts listed on
       line 6(c), ColumnB (Election Cycle-to-Date), and line 7(c), ColumnB (Election
       Cycle-to-Date), and line 7(c), Column B (Election Cycle-to-Date) of the
       Summary Page. of Receipts: and Disbursements, of FEC Form 3, shown circled
       on the following page. To satisfy this criterion, at least one of these two reported
       amounts, by itself, must be $25,000 or more. This criterion cannot be satisfied
       by adding the two amounts together. KET will not consider any FEC Form 3
       filed or amended after the April 15, 2022 filing deadline.

       I have been making expenditures for my 2022 Democratic primary election campaign

since January 1, 2021, which is the day after I terminated my 2020 campaign for Congress in

the Sixth District. I·kept track ofaIMegitimate campaign expenditures during the calendar year

2021. Because I did not reach the $5,000 filing threshold during the first two quarters of 2021,

I didn't have to file any FEC reports. During the third quarter of 2021, I exceeded the $5,000

threshold and deetronicaHy filed my Third Quarter report on November IO; 2021. It repmied

expenditures of $9,962.50. On January 27, 2022, I filed my report that was supposed to cover

the entire calendar year of 2021. Because I mistakenly opened a new FEC data file instead of

using the original one; theCycle•to•Datefigure was incorrect.          l11   the 4th quarter of 2021, l

reported expenditures of$22,550.37, and the Cycle-to-Date number was also $22,550.37. It

                                                      2.
  Case: 5:22-cv-00104-CHB Doc #: 1 Filed: 04/25/22 Page: 3 of 5 - Page ID#: 3




should have been $9,962.50 plus $22,550.37, or $32,512.87. That amount, ifl had used the

FEC software correctly, would have put me above KET's spending requirement as of December

} 1, 2-0'.?;l. On April l l, 2022, I filed- \ny FEC report for the first three months of 2022. 'Fhe

reported expenditures were $63,505.44. Because I again mistakenly opened a new FEC data

file, the Cycle-to-Date figure was incorrect. It read $63,505.44, but it should have read

$32,512.87 phis $63,505.44 or $96,018.3}. Bothmyaetmtl ftr-st qtmrter 2-022 expenditttr-es of

$63,505.44 and my actual, soon-to-be-corrected Cycle-to-Date expenditures of $96,018.31 as

of March 31, 2022 easily met KET's Criterion (3). The FEC allows candidates or their

campaign treasurers to file amended ftnaneial- report-s, and my intention is to wait tmtil after the

May 17, 2022 primary when I should have a little time, and then amend all of my reports that

contain errors so that all of my 2021-2022 reports are accurate.

        OnApril H, 14, 15, 16, 18,22,24a:nd25,Ieheeked-the-FEC'swebsiteto-seewhether

Chris Preece ever met KET's Criterion (3). He never did, and KET's April 15, 2022 deadline is

now in the past. Chris Preece has never even filed a first quarter 2022 FEC report, and his

year-end 2021 report showed tota!receipts of $16,236·.27 and total expenditures of $4,352.75.

Mr. Preece met KET's first two invitation criteria but failed to meet KET's Criterion (3).

        On April 20, 2022, I received a two-page letter from an attorney I know, Christopher W.

Brooker. See Exhibit 2. On the first page, Mr. Brooker admitted-that "KET reviewed your

principal campaign committee's April 15, 2022 Quarterly Report, and saw that you reported

$63,505.44 in campaign disbursements on line 7(c)." The next sentence should have read:

"You have therefore met all three of KET's invitation criteria and Chris Preece has not, so you

will be invited to participate in a live, one-on-one interview by Renee Shaw at 8:00 pm on

(whatever date), and the recorded interview will be aired six or seven times before the May 17


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 Case: 5:22-cv-00104-CHB Doc #: 1 Filed: 04/25/22 Page: 4 of 5 - Page ID#: 4




primary."

       What Mr. Brooker actually wrote on page two of his letter, however, was nothing like

wliAf he should have written. He wrote, "Aectlfdingly; KET will net be inviting y-ou ro· appear

on Kentucky Tonight in this primary election cycle." He made it clear that that decision will

never be reversed, no matter what I might say to him, to any KET employee, to any board

member ofKET's- g-oveming body, t-o ilie Kentucky Authooey for Edtteaiional Tel:evis-ion, or t-o

anyone else.

       An injunction against KET is urgently required because I will suffer enormous damage

t-o my professional career as a Kentucky politician and enor.m-ous damage to my persOJJ.al:

reputation in the community and indeed, throughout the United States, if KET is allowed to

exclude me in clear violation of its own written candidate invitation criteria. In his letter, Mr.

Brooker has already provided, in writing, the text of what KET is intending to say about meto

the public about why I was not given an interview before the primary.

       Ifl win the Democratic primary despite KET's unlawful, vicious, discriminatory

conduct, Aney Barr {R} is certain t-0' quote KET's public explanation in every ad he runs from

May 18 through November 8, 2022. It won't matter ifl somehow make it into KET's pre-

general election debate that will probably occur in October, 2022. The damage to me and my

reputarion wiH already have been done. My reputation as a serious candidate for US

Representative in KY-6 will have been permanently destroyed by KET's public comments,

several million dollars' worth of vicious attack ads gleefully run by Andy Barr's campaign

com:mittee, and more attack ads run b-y independent, Republican super-PACs, all of which will

gleefully cite KET's public comments. After all of that, I would be a fool ever again to attempt

to run for any political office in America.
  Case: 5:22-cv-00104-CHB Doc #: 1 Filed: 04/25/22 Page: 5 of 5 - Page ID#: 5




                I see no need to belabor my point. Mr. Brooker and KET are attempting to end my

political career within the next day or two. The last three pages of this document include my

!')f&pesed text of an i:njunetioo that I a:m respeetful-ly asking thijl Cmrrt to enter against KET

today.

Respectfully signed on April 25, 2022 by:




Geoffrey M. Young, prose
2430 Millbrook Drive
Lexington, KY 40503
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Land line: (859} 218-4%6




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